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                                          CENTRAL DISTRICT OF CALIFORNIA
               13

               14      ABDIRAHMAN ADEN KARIYE,                      Case No. 2:22-cv-01916-FWS-GJS
                       MOHAMAD MOUSLLI, and
                       HAMEEM SHAH,                                 PLAINTIFFS’ MEMORANDUM OF
               15                                                   POINTS AND AUTHORITIES IN
                                       Plaintiffs,                  SUPPORT OF MOTION TO COMPEL
                                                                    PRODUCTION OF DOCUMENTS
               16            v.
                                                                    Date: June 16, 2025
               17      KRISTI NOEM, Secretary of the U.S.           Time: 3:00pm
                       Department of Homeland Security, in          Dept: Ctrm 640
                       her official capacity, et al.,               Judge: Hon. Gail J. Standish
               18                                                   Trial Date: November 3, 2026
                                       Defendants.                  Date Action Filed: March 24, 2022
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                   1   I.    INTRODUCTION

                   2         When Plaintiffs Imam Abdirahman Aden Kariye, Mohamad Mouslli, and

                   3   Hameem Shah return to the United States from traveling abroad, U.S. border officers

                   4   routinely single them out as Muslims and ask demeaning questions about their faith,

                   5   such as “How many times a day do you pray?” and “How religious do you consider

                   6   yourself?” These types of questions are invasive, irrelevant to border security, and

                   7   unconstitutional. Plaintiffs, who are U.S. citizens, have been detained and subjected

                   8   to this religious questioning ten separate times in lengthy “secondary inspections” at

                   9   ports of entry across the country. Border officers ask these unconstitutional questions

               10      pursuant to a broader policy and/or practice of discriminatory religious questioning.

               11            Accordingly, information about religious questioning and secondary

               12      inspections—stored in government databases like “TECS,” in various DHS offices,

               13      and in border officers’ work phones—is indisputably relevant to Plaintiffs’ claims.

               14      Yet Defendants refuse to produce key documents from these sources. For example,

               15      Defendants have refused to search for TECS documents concerning the religious

               16      questioning of individuals other than Plaintiffs, even though these documents go to

               17      the heart of Plaintiffs’ claims about Defendants’ broader policies and practices.

               18      Defendants have also refused to name all border officers who were involved in the

               19      ten incidents of religious questioning of Plaintiffs, produce those officers’

               20      performance reviews, and search each officer’s work phone for communications

               21      from before 2023—even though the incidents alleged by Plaintiffs took place before

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                   1   2023.

                   2           For the reasons below, the Court should compel Defendants to produce

                   3   documents and information responsive to Plaintiffs’ requests for production and

                   4   Plaintiff Kariye’s interrogatories. In addition, the Court should order Defendants to

                   5   preserve and produce third-party complaints and allegations of religious questioning

                   6   in the possession of the DHS Office for Civil Rights and Civil Liberties (“DHS

                   7   CRCL”), the DHS office primarily responsible for collecting and investigating such

                   8   complaints. In March 2025, the new administration shut down DHS CRCL. As a

                   9   result, it is unclear whether the office’s documents are even being preserved.1

               10      II.     STATEMENT OF RELEVANT FACTS

               11              On March 24, 2022, Plaintiffs filed this lawsuit, challenging Defendants’

               12      religious questioning as violating the right to equal protection, the Free Exercise

               13      Clause, the First Amendment right to free association, and the Religious Freedom

               14      Restoration Act. Mr. Shah also challenges Defendants’ retaliatory actions as a

               15      separate First Amendment violation. ECF No. 1. On November 14, 2022, Plaintiffs

               16      filed an amended complaint (“Amended Complaint” or “Am. Compl.”). ECF No. 61.

               17              On November 15, 2022, Plaintiffs served their first set of written discovery

               18      requests on Defendants. Exhibits 1, 2.2 Plaintiffs’ requests for production (“RFPs”)

               19

               20
                       1
                         Plaintiffs concurrently move to compel information that was redacted in the
               21      documents   Defendants did produce based on a “law enforcement privilege.”
                       2
                         “Exhibit” or “Ex.” refers to the exhibits attached to the Declaration of Alexander
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                       K. Brehnan filed concurrently with this Motion.
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                   1   seek, among other things: (1) reports from the TECS database 3 (“TECS Reports”)

                   2   concerning any person’s religious questioning during secondary inspection (RFP 14);

                   3   (2) complaints and allegations related to religious questioning or to retaliation on the

                   4   basis of religion or the invocation of a constitutional right, including from DHS

                   5   CRCL (RFPs 11, 18, 19); and (3) complaints about and performance reviews of the

                   6   officers involved in the religious questioning of Plaintiffs (RFPs 16, 17). Ex. 1.

                   7   Plaintiffs seek these and other relevant documents in Defendants’ possession,

                   8   custody, or control, including on selected custodians’ work phones. Ex. 5 at 3, 6, 8–

                   9   9; Ex. 12 at 3. Plaintiff Kariye’s interrogatories (“ROGs”) seek, among other things,

               10      the identities of all officers who participated in, were present at, or who supervised

               11      the ten secondary inspections involving the religious questioning of Plaintiffs (ROG

               12      7). Ex. 2.

               13            In response, on April 4, 2023, Defendants produced 17 documents. Declaration

               14      of Alexander K. Brehnan (“Brehnan Decl.”) ¶ 24. On September 5, 2023, the District

               15      Court entered judgment for Defendants. ECF No. 81. But on October 4, 2024, the

               16      Ninth Circuit vacated the judgment and remanded for further proceedings. ECF No.

               17      89. The mandate issued on November 26, 2024. ECF No. 90. Shortly thereafter,

               18      Plaintiffs sought to meet and confer about their outstanding discovery requests. Ex.

               19      5 at 41. For months, from February into April, Plaintiffs repeatedly asked Defendants

               20

               21
                       3
                        The TECS database is the main DHS repository of documents recounting what
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                       occurred at secondary inspections.
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                   1   to commit to dates for production for certain RFPs. Defendants repeatedly refused to

                   2   do so and only made limited productions. Ex. 7 at 2–3; Ex. 9 at 3–8. Because of these

                   3   delays, the parties were forced to seek an extension of discovery, which the District

                   4   Court granted on April 29. ECF No. 104.

                   5          Plaintiffs bring the instant motion because Defendants refuse to search critical

                   6   sources of information bearing directly on Plaintiffs’ claims.4 Defendants have not

                   7   searched for, let alone produced, any TECS Reports related to non-Plaintiffs

                   8   subjected to religious questioning. Nor have they produced complaints or allegations

                   9   of religious questioning lodged with DHS CRCL—one of the main sources of

               10      complaints. And they have not produced complaints about, performance reviews of,

               11      or communications from the border officers involved in the religious questioning of

               12      Plaintiffs.

               13      III.   LEGAL STANDARD

               14             “A party seeking discovery may move for an order compelling an answer,

               15      designation, production, or inspection” if “a party fails to answer an interrogatory

               16      submitted under Rule 33” or “a party fails to produce documents . . . as requested

               17      under Rule 34.” Fed. R. Civ. P. 37(a)(3)(B). This Court “enjoys broad discretion

               18
                       4
                         Defendants confirmed their refusal to produce the documents and information
               19      sought in this motion during the April 11, 2025 meet and confer. Ex. 18 at 2–3. To
                       date, Defendants have produced 245 documents, limited to TECS Reports about the
               20      secondary inspections of Plaintiffs, general policy documents and DHS privacy
                       assessments, and complaints and supporting materials about the religious questioning
                       of third parties that were in the possession of the CBP Joint Intake Center. See
               21      Brehnan Decl. ¶ 24. Most of the documents produced to date—149 out of the 245—
                       were produced after the parties met and conferred on April 11 in advance of filing
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                       this motion. Id.
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                   1   when resolving discovery disputes.” United States ex rel. Brown v. Celgene Corp.,

                   2   2015 WL 12731923, at *2 (C.D. Cal. July 24, 2015).

                   3   IV.   ARGUMENT

                   4         A.     Plaintiffs are entitled to certain documents and information related
                                    to Plaintiffs’ core claims.
                   5
                             Defendants failed to produce documents in response to the following RFPs and
                   6
                       ROG that Plaintiffs served in November 2022.
                   7
                             RFP 14 seeks all documents from the TECS database that concern any
                   8
                       person’s religious beliefs, practices, or associations and questioning at ports of entry.5
                   9
                       Ex. 1 at 15:23–17:3. These reports are highly relevant because they speak to
               10
                       Defendants’ policy and/or practice of religious questioning, which is at the core of
               11
                       Plaintiffs’ claims. Bible v. Rio Props., Inc., 246 F.R.D. 614, 619 (C.D. Cal. 2007)
               12
                       (“prior complaints of injury from situations similar to that which caused plaintiff’s
               13
                       injury” were relevant to plaintiff’s claims).
               14
                             Defendants do not dispute that TECS Reports about non-Plaintiff travelers are
               15
                       relevant. Rather, Defendants claim that searching the TECS database is unduly
               16
                       burdensome and thus not required because multiple fields in the database—including
               17
                       the fields containing the substantive summaries of border encounters—are “not text-
               18
                       searchable.”6 Ex. 1 at 15:23–17:3. But Defendants flatly refused to consider standard
               19

               20      5
                         The Parties negotiated a date range of January 1, 2013 to the present for this RFP.
                       Ex.
                       6
                           5 at 26.
               21        Defendants explained that while the TECS database can be searched on the frontend
                       by name, date of birth, or the like, it could not be searched by keywords on the
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                       frontend. Brehnan Decl. ¶ 3.
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                   1   e-discovery techniques that could facilitate keyword searches of those fields, like

                   2   certain methods that could be used to query the database from the backend. Valentine

                   3   Decl. ¶¶ 7–8; Brehnan Decl. ¶ 3; Ex. 5 at 3, 5, 8, 10; Ex. 12 at 4. Nor did Defendants

                   4   provide any details (as they are obligated to do) corroborating their claim that such a

                   5   search would be unduly burdensome. Fed. R. Civ. P. 26(b)(2)(B) (“On motion to

                   6   compel . . . the party from whom discovery is sought must show that the information

                   7   is not reasonably accessible because of undue burden or cost.”). Plaintiffs even

                   8   offered for counsel’s e-discovery team to meet with government IT personnel to

                   9   determine the most efficient way to make the TECS database searchable. Brehnan

               10      Decl. ¶¶ 2–3; Ex. 5 at 2; Ex. 7 at 1–2, 5; Ex. 8 at 1; Ex. 9 at 8. Defendants declined.7

               11      Ex. 13 at 3.

               12            The importance of TECS Reports referencing additional incidents of religious

               13      questioning outweighs any purported burden on Defendants—a burden that they have

               14      not even attempted to mitigate. The Court should require Defendants to employ

               15      standard e-discovery practices and render the TECS database text-searchable.

               16      Alternatively, the Court should order Defendants to have the TECS database

               17      administrator or other knowledgeable technician meet with Plaintiffs’ e-discovery

               18      experts or vendor to have good-faith discussions on how to make the TECS database

               19      text-searchable.

               20
                       7
                         Defendants claimed that they could not agree to the meeting due to concerns that
               21      the TECS database administrator could divulge sensitive information about the
                       database. Ex. 13 at 3. But Plaintiffs offered to have counsel for both parties on the
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                       call to supervise the exchange, if necessary. Brehnan Decl. ¶ 3.
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                   1         RFPs 11, 18, 19 seek documents concerning complaints and allegations of (1)

                   2   religious questioning and (2) retaliation on the basis of religion or the invocation of

                   3   a constitutional right.8 Ex. 3 at 13:3–14:5; 19:1–21:5. Similar to the TECS Reports,

                   4   these complaints and allegations are highly relevant because they relate to non-

                   5   Plaintiffs who suffered comparable injuries and help illustrate Defendants’ policy

                   6   and/or practice of religious questioning. Bible, 246 F.R.D. at 619.

                   7         Defendants do not dispute that these documents are relevant, but thus far they

                   8   have failed to produce them directly from DHS CRCL—a critical source of

                   9   complaints.9 See, e.g., ECF No. 61, Am. Compl. ¶¶ 17–22 (In 2011, 2019, and 2020,

               10      DHS CRCL said it had received and was investigating complaints “alleging that

               11      [border] officers have engaged in inappropriate questioning about religio[n]” during

               12      secondary inspection.); Ex. 5 at 28; Ex. 10 at 2–3; Ex. 13 at 2. Indeed, Defendants

               13      agreed to search and produce documents from DHS CRCL. Ex. 3 at 16:20–17:3;

               14      19:21–26. But last month, the Trump administration in effect closed the office.10

               15      Since then, despite multiple inquiries over email and calls, Defendants have been

               16      unable to confirm whether responsive documents from DHS CRCL are being

               17      preserved—let alone whether and when Defendants will be able to search the office

               18
                       8
                         The Parties negotiated a date range of January 1, 2013 to the present for these RFPs.
               19      Ex. 5 at 26.
                       9
                          Defendants have produced some documents from DHS CRCL that had been
               20      forwarded to the CBP Joint Intake Center, but that fact does not eliminate
                       Defendants’
                       10
                                     obligation to produce responsive documents from DHS CRCL itself.
                          Zolan Kanno-Youngs, Hamed Aleaziz, Adam Goldman, & Eileen Sullivan, Trump
               21      Shuts Down 3 Watchdog Agencies Overseeing Immigration Crackdown, N.Y. Times
                       (Mar. 21, 2025), https://www.nytimes.com/2025/03/21/us/politics/trump-civil-
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                       rights-homeland-security-deportations.html.
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                   1   for responsive documents. Ex. 10 at 1, 3; Ex. 18 at 1.

                   2         Thus, Plaintiffs request that the Court order Defendants to (1) preserve

                   3   documents under DHS CRCL’s possession or control and confirm that they have

                   4   done so, and (2) produce all responsive documents from DHS CRCL within 30 days

                   5   after the Court’s decision on this motion, to minimize the risk that responsive

                   6   documents are destroyed.

                   7         ROG 7 asks Defendants to identify each and every one of the “agents, officers,

                   8   or officials who [(1)] participated in, [(2)] were present at, or [(3)] supervised” any

                   9   officer involved in Plaintiffs’ incidents of religious questioning. Ex. 4 at 10. In an

               10      amended response to ROG 7, Defendants listed 12 officers that “participated” in the

               11      questioning and referred Plaintiff to additional responsive information in documents

               12      that “will be produced.” Ex. 6 at 3:1–4:21. Despite Plaintiff Kariye’s insistence that

               13      the response was deficient, Defendants have repeatedly claimed to have “satisfied”

               14      their obligations under ROG 7. Ex. 18 at 2; Ex. 10 at 1. Defendants are wrong.

               15            As an initial matter, Defendants’ response is inadequate on its face because

               16      they did not provide any information about officers who were “present at” or

               17      “supervised” Plaintiffs’ incidents of religious questioning. And simply referring

               18      Plaintiff to documents that “will be produced” cannot fill that gap. See Probuilders

               19      Specialty Ins. Co. v. Valley Corp., 2012 WL 6045753, at *3 n.3 (N.D. Cal. Nov. 28,

               20      2012) (in responding to an interrogatory, a party must “articulate the facts . . . in an

               21      explicit, responsive, complete, and candid manner.”); Pulsecard, Inc. v. Discover

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                   1   Card Servs., Inc., 168 F.R.D. 295, 305 (D. Kan. 1996) (“Under the guise of Fed. R.

                   2   Civ. P. 33(d) defendants may not simply refer generically to past or future production

                   3   of documents. They must identify in their answers to the interrogatories specifically

                   4   which documents contain the answer. Otherwise they must completely answer the

                   5   interrogatories without referring to the documents.”).

                   6         Additionally, Plaintiff cannot rely on Defendants’ document productions to

                   7   divine information. For example, for three of the ten incidents at issue, Defendants

                   8   have failed to produce the particular type of TECS Report (a “TECS Person Query

                   9   Detail Report”) that identifies the line supervisor at each incident—leaving Plaintiff

               10      with no way to obtain that information. Ex. 9 at 9–11; Ex. 19 at 1–2. Further, Plaintiff

               11      learned from that discovery that additional categories of supervisory officers—such

               12      as a “Watch Commander” and a “Chief Officer”—are involved in secondary

               13      inspections, but the produced documents include only the names of individuals in

               14      those positions for one of the ten incidents. Ex. 10 at 2–3. Defendants have refused

               15      to produce that information for the remaining nine incidents. Id. at 1; Ex. 12 at 5; Ex.

               16      18 at 2.

               17            Without Defendants providing the identities of officers in a discovery

               18      response, Plaintiff may never obtain that information. Through a diligent review of

               19      the documents produced in discovery, Plaintiff determined that an additional nine

               20      officers beyond those included in Defendants’ amended response to ROG 7 were

               21      involved in Plaintiffs’ incidents of religious questioning. But Plaintiff still suspects

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                   1   many additional officers were involved.11 Further, Defendants have limited searches

                   2   for responsive documents to only those individuals expressly named in their

                   3   amended response to ROG 7—even though Defendants have represented that the

                   4   identities of additional officers can be found in produced documents. See Ex. 6; Ex.

                   5   12 at 5; Ex. 16 at 12:2–22.

                   6         Thus, Defendants should be ordered to produce a complete written response to

                   7   Plaintiff Kariye’s ROG 7, including the names of all the officers who participated in,

                   8   were present at, or supervised Plaintiffs’ incidents of religious questioning.

                   9         B.     In particular, Plaintiffs are entitled to documents and information
                                    from the officers involved in Plaintiffs’ secondary inspections.
               10
                             Defendants also seek to withhold (1) pre-2023 communications and data from
               11
                       the work phones of officers involved in the religious questioning of Plaintiffs, even
               12
                       though the incidents described in the Amended Complaint took place before 2023,
               13
                       and (2) performance reviews and related documents concerning the officers involved
               14
                       in Plaintiffs’ religious questioning.
               15
                             Communications and Data from Work Phones: Ignoring the scope of their
               16
                       discovery obligations, Defendants have taken the position that they will not search
               17
                       custodians’ work phones for communications that occurred prior to May 1, 2023. Ex.
               18
                       13 at 1. But Defendants’ position is nonsense. Any relevant communications likely
               19

               20
                       11
                         For example, Plaintiffs informed Defendants that they recalled six additional
               21      officers present at the questioning who were not identified in ROG 7 or in the
                       productions. Ex. 3 at 10–11. Defendants never confirmed they conducted any
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                       investigation to identify the missing officers.
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                   1   occurred before May 1, 2023 because the ten incidents of religious questioning

                   2   occurred from 2019 to 2022. ECF No. 61, Am. Compl. ¶¶ 56–80, 108–126; 145–

                   3   175.12 See Pashaie v. H77LA, LLC, 2024 WL 4800698, at *5 (C.D. Cal. Sept. 9,

                   4   2024) (“[F]ederal courts routinely grant motions to compel text messages from cell

                   5   phones where such communications are directly relevant to the matters in dispute.”).

                   6         Indeed, Defendants do not dispute the relevance of these pre-May 1, 2023

                   7   communications and instead base their refusal on the purported undue burden to

                   8   manually review communications from that date. Ex. 13 at 1. Defendants’ argument

                   9   is not persuasive. Defendants describe the typical manual document-by-document

               10      review as a burden, but they have shown no reason why they cannot employ standard

               11      e-discovery techniques to upload data from Defendants’ work phones to a review

               12      database and conduct the review by search terms or date ranges.

               13            But even if a manual document-by-document review is for some reason the

               14      only method available to Defendants, the relevance of contemporaneous

               15      communications from the pre-May 2023 period far outweighs any purported burden.

               16      See Wachuku v. JetBlue Airways Corp., 2021 WL 4497157, at *12 (C.D. Cal. Apr.

               17      29, 2021) (emphasis in original) (granting motion to compel text messages “which

               18      relate[d] to discrimination or unfair treatment of passengers [as] relevant” to the

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               20      12
                          Defendants’ position also contradicts their agreement to search for documents in
                       response to Plaintiffs’ RFPs for specific time periods. The parties negotiated January
               21      1, 2010 to the present and January 1, 2013 to the present as the relevant period for
                       almost all RFPs. Ex. 5 at 26. The parties negotiated January 1, 2017 to December 31,
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                       2022 for RFPs 16 and 17. Ex. 7 at 2; Ex. 12 at 5.
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                                                                               PLS’ MEMO ISO MOTION TO COMPEL
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                                                                 11                      2:22-CV-01916-FWS-GJS
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                   1   complaint, even where it would impose burdens on defendants).

                   2         Thus, Defendants should be ordered to search for and produce

                   3   communications from the custodians’ work phones for the dates mutually agreed

                   4   upon by the parties for each of Plaintiffs’ RFPs.

                   5         RFPs 16, 17 seek documents related to complaints, disciplinary actions,

                   6   performance reviews, and commendations concerning the border officers involved in

                   7   Plaintiffs’ incidents of religious questioning.13 Ex. 3 at 17:19–18:24. Defendants, in

                   8   their objections, claimed these documents are irrelevant,14 id. at 17:24–18:6; 18:12–

                   9   24, and continue to dispute the relevancy of at least officers’ performance reviews

               10      and commendations. See Ex. 5 at 4; Ex. 12 at 5.

               11            But these records are undoubtedly relevant. “[I]nvestigations, complaints,

               12      performance evaluations, or other records—are directly relevant . . . in that they can

               13      show whether Defendants [] were aware of and indifferent to previous relevant

               14      conduct.” Pleasant v. Miranda, 2021 WL 829735, at *6 (C.D. Cal. Jan. 25, 2021).

               15      Defendants’ commendations or positive reviews for officers involved in religious

               16      questioning may well reflect an endorsement of the practice at the heart of this case.

               17            Defendants’ response that 12 of the involved officers did not have disciplinary

               18      records or complaints for the agreed upon time period is inadequate. Ex. 12 at 5; Ex.

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                          The Parties negotiated a date range of January 1, 2017 to December 31, 2022 for
                       these
                       14
                             RFPs. Ex. 7 at 2; Ex. 12 at 5.
               21         Defendants also objected to these RFPs on the basis of privacy concerns. Ex. 1 at
                       17:24-18:6; 18:12-24. But those concerns are addressed by the Protective Order, see
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                       ECF No. 53 at 3, and an exception in the Privacy Act. 5 U.S.C. § 552a(b)(11).
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                   1   16:2–22. The parties know of at least 21 officers involved in the inspections. Ex. 12

                   2   at 5; Ex. 13 at 4.15 In other words, there are at least 9 additional officers who were

                   3   involved in Plaintiffs’ incidents of religious questioning for which Defendants have

                   4   not provided any information and have not committed to production. Ex. 18 at 2.

                   5   Indeed, Defendants’ search for the 12 officers was itself deficient because

                   6   Defendants admitted to not yet searching DHS CRCL, see supra, nor have they

                   7   confirmed they have searched other relevant repositories of complaints and

                   8   allegations.16 Ex. 12 at 5; Ex. 18 at 1–2; see Fed. R. Civ. P. 26(g)(1) (Defendants are

                   9   obligated to make a “reasonable inquiry” for responsive documents.).

               10            Moreover, Defendants have merely informed Plaintiffs about a lack of

               11      disciplinary records and complaints for the 12 officers; they have not provided any

               12      information concerning commendations or performance reviews for those 12

               13      officers—and they have not produced any of those documents. See Ex. 12 at 5; Ex.

               14      16:2–22. But if border officers involved in discriminatory religious questioning are

               15      also receiving commendations or positive performance reviews, that may well reflect

               16      Defendants’ view of the policy and/or practice at the heart of this lawsuit. See, e.g.,

               17      Pleasant, 2021 WL 829735, at *6 (personnel files can show whether defendants are

               18      “indifferent to” relevant conduct).

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                          Defendants claimed they had searched for these documents for the 12 officers listed
               20      in their response to ROG 7. As explained in the section above, it is improper for
                       Defendants to refuse to supplement ROG 7 with this information because it opens
                       the
                       16
                           door to potential mischief.
               21         Defendants acknowledge the DHS Traveler Redress Inquiry Program and the
                       Office of Congressional Affairs as two such additional repositories. Ex. 16 at 5:8–
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                       6:4, 14:7–15:9; Ex. 10 at 1.
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                   1         Thus, in response to RFPs 16 and 17, the Court should order Defendants to

                   2   produce complaints, disciplinary actions, performance reviews, and commendations

                   3   for all the border officers involved in the ten incidents of religious questioning.

                   4   V.    CONCLUSION

                   5         For the foregoing reasons, this Court should compel Defendants to produce the

                   6   missing documents and information herein identified.

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